Case 4:21-cv-01042-BSM Document9 Filed 11/10/21 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF ARKANSAS
CENTRAL DIVISION

NAKITA S. GIBBS, et al.

v. - No. 4:21-cv-1021-DPM

4:21-cv-1022-DPM
4:21-cv-1023-DPM
4:21-cv-1024-DPM
4:21-cv-1025-DPM
4:21-cv-1026-DPM
4:21-cv-1027-DPM
4:21-cv-1028-DPM
4:21-cv-1029-DPM
4:21-cv-1030-DPM
4:21-cv-1031-DPM
4:21-cv-1032-DPM
4:21-cv-1033-DPM
4:21-cv-1034-DPM.
4:21-cv-1035-DPM
4:21-cv-1036-DPM
4:21-cv-1037-DPM
4:21-cv-1038-DPM
4:21-cv-1039-DPM
4:21-cv-1040-DPM
4:21-cv-1041-DPM
4:21-cv-1042-DPM
4:21-cv-1043-DPM
4:21-cv-1044-DPM
4:21-cv-1045-DPM
4:21-cv-1046-DPM

PLAINTIFFS
Case 4:21-cv-01042-BSM Document9 Filed 11/10/21 Page 2 of 2

4:21-cv-1047-DPM
4:21-cv-1048-DPM
4:21-cv-1049-DPM
4:21-cv-1050-DPM
4:21-cv-1051-DPM
‘4:21-cv-1052-DPM
4:21-cv-1053-DPM
4:21-cv-1054-DPM
4:21-cv-1055-DPM
4:21-cv-1056-DPM
4:21-cv-1057-DPM
4:21-cv-1058-DPM
4:21-cv-1059-DPM
4:21-cv-1060-DPM
4:21-cv-1061-DPM
4:21-cv-1062-DPM

GARY M. ARNOLD, et al. DEFENDANTS

ORDER
I recuse. I’m a defendant. My impartiality in this case could
therefore reasonably be questioned. 28 U.S.C. § 455(a). The Clerk must

reassign these cases at random by chip exchange.

So Ordered.

rmnyvAanw , ff
NY “ae rste HF.

D.P. Marshall Jr.
United States District Judge

 

date AwsOuna lt IPA

AL SVESU a

 
